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     State Bar No. 010167
 6   Leonard J. McDonald
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 7   Attorneys for Movant
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 8   18-04061

 9                             IN THE UNITED STATES BANKRUPTCY COURT

10                                     FOR THE DISTRICT OF ARIZONA

11   IN RE:                                                               No. 4:18-bk-11788-SHG

12   Linda Marie Ballard aka C-N-J Ranchette Home                                 Chapter 7
     for Disabled Elderly Women
13                                                                   MOTION FOR RELIEF FROM
                   Debtor.                                              AUTOMATIC STAY
14
     ________________________________________                           (REAL PROPERTY)
15   The Bank of New York Mellon FKA The Bank of
     New York as Trustee for the Certificateholders of
16   the CWABS Inc., Asset-Backed Certificates,                        RE: Real Property Located at
     Series 2004-2                                                     2085 North San Joaquin Road
17                                                                          Tucson, AZ 85743
18
                     Movant,
              vs.
19
     Linda Marie Ballard aka C-N-J Ranchette Home
20   for Disabled Elderly Women, Debtor; Stanley J
     Kartchner, Trustee.
21
                     Respondents.
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24            The Bank of New York Mellon FKA The Bank of New York as Trustee for the Certificateholders

25   of the CWABS Inc., Asset-Backed Certificates, Series 2004-2 (“Movant”) hereby moves this Court,

26   pursuant to 11 U.S.C. § 362, for relief from the automatic stay with respect to certain real property of the




     Case 4:18-bk-11788-SHG          Doc 22 Filed 12/31/18 Entered 12/31/18 13:25:32                  Desc
                                      Main Document    Page 1 of 3
 1   Debtor having an address of 2085 North San Joaquin Road, Tucson, AZ 85743 (the “Property”). In
 2   further support of this Motion, Movant respectfully states:
 3      1. A petition under Chapter 7 of the United States Bankruptcy Code was filed with respect to the
 4   Debtor on September 26, 2018.
 5      2. The Debtor Linda M Ballard and non-filing co-debtor Jeannette A Padonan(deceased) executed and
 6   delivered that certain promissory note in the original principal amount of $184,000.00 (the “Note”). A true
 7   and correct copy of the Note, with all amendments, allonges, endorsements and/or assignments, is attached
 8   hereto as Exhibit “A”. Movant is an entity entitled to enforce the Note.

 9      3. Pursuant to that certain Deed of Trust (the “Deed of Trust”), all obligations (collectively, the

10   “Obligations”) of the Debtor under the Note and the Deed of Trust with respect to the Loan are secured by

11   the Property. A true and correct copy of the Deed of Trust is attached hereto as Exhibit “B”.

12      4. All rights and remedies under the Deed of Trust have been assigned to the Movant pursuant to

13   that certain assignment of Deed of Trust. A true and correct copy of the assignment of Deed of Trust is

14   attached hereto as Exhibit “C”.

15      5. Pursuant to Debtor's Statement of Intention the debtor intends on surrendering any and all

16   interest in the subject property. A true and correct copy of the Debtor's Statement of Intention is

17   attached hereto as Exhibit “D”.

18      6. Cause exists for relief from the automatic stay for the following reasons:

19                  (a)        Movant’s interest in the Property is not adequately protected.

20           WHEREFORE, Movant prays that this Court issue an Order terminating or modifying the stay and

21
     granting the following:

22
            1.      Relief from the stay allowing Movant (and any successors or assigns) to proceed under

     applicable non-bankruptcy law to enforce its remedies to foreclose upon and obtain possession of the
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     property.
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            2.      That the Order be binding and effective despite any conversion of this bankruptcy case to a
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     case under any other chapter of Title 11 of the United States Code.
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     Case 4:18-bk-11788-SHG            Doc 22 Filed 12/31/18 Entered 12/31/18 13:25:32               Desc
                                        Main Document    Page 2 of 3
 1         3.    That the 14-day stay described by Bankruptcy Rule 4001(a)(3) be waived.
 2         4.    For such other relief as the Court deems proper.
 3         DATED this 31st day of December, 2018.
 4                                              TIFFANY & BOSCO, P.A.
 5                                              BY: /s/ LJM #014228
                                                     Mark S. Bosco
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                                                     Leonard J. McDonald
 7                                                   Attorneys for Movant

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     Case 4:18-bk-11788-SHG      Doc 22 Filed 12/31/18 Entered 12/31/18 13:25:32           Desc
                                  Main Document    Page 3 of 3
